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  CHEE MARKHAM & FELDMAN
  Attorneys At Law

  GREGORY K. MARKHAM               3453-0
  KEITH K. KATO                    5320-0
  MARI L. TSUKAYAMA                9899-0
  2700 American Savings Bank Tower
  1001 Bishop Street
  Honolulu, Hawaii 96813
  Telephone: (808) 523-0111
  Facsimile: (808)523-0115

  Attorneys for Defendant
  ASSOCIATION OF APARTMENT OWNERS
  OF WAIKIKI SHORE, INC.

                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

   LINDA CLARKE                            Civil No. CV1-16-00064 LEK-KJM

                 Plaintiff,                STIPULATION FOR DISMISSAL
                                           WITH PREJUDICE AS TO ALL
         vs.                               CLAIMS AND ALL PARTIES;
                                           ORDER
   ASSOCIATION OF APARTMENT
   OWNERS OF WAIKIKI SHORE,
   INC.; CASTLE RESORTS &
   HOTELS, INC.                            Trial Date: June 27, 2017

                 Defendants.

               STIPULATION FOR DISMISSAL WITH PREJUDICE
                    AS TO ALL CLAIMS AND ALL PARTIES

               IT IS HEREBY STIPULATED by and between Plaintiff LINDA

 CLARKE and Defendants ASSOCIATION OF APARTMENT OWNERS OF
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 WAIKIKI SHORE, INC. and CASTLE RESORTS & HOTELS, INC., by and

 through their respective counsel, that pursuant to Rule 41 (a)(1) of the Federal

 Rules of Civil Procedure, Plaintiff hereby dismisses any and all claims against

 Defendants, with prejudice, each party to bear their own fees and costs.

                There are no remaining parties and/or issues.

                Trial in this matter is currently set for June 27, 2017.

                DATED: Honolulu, Hawaii,               September 19, 2016            .



                                                     /s/ Gregory K. Markham
                                               GREGORY K. MARKHAM
                                               KEITH K. KATO
                                               Attorneys for Defendant
                                               ASSOCIATION OF APARTMENT
                                               OWNERS OF WAIKIKI SHORE, INC.


                DATED: Honolulu, Hawaii,               September 19, 2016            .



                                                     /s/ Lunsford Dole Phillips
                                               LUNSFORD DOLE PHILLIPS
                                               Attorney for Plaintiff
                                               LINDA CLARKE


                DATED: Honolulu, Hawaii,               September 19, 2016            .


 STIPULATION FOR DISMISSAL WITH PREJUDICE AS TO ALL CLAIMS AND ALL PARTIES;
 ORDER in Linda Clarke v. Association of Apartment Owners of Waikiki Shore, Inc., et al.; CV 1-16-
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                                                     /s/ Gary S. Miyamoto
                                               CALVIN E. YOUNG
                                               GARY S. MIYAMOTO
                                               Attorneys for Defendant
                                               CASTLE RESORTS & HOTELS, INC.



 APPROVED AND SO ORDERED:



                                    /s/ Leslie E. Kobayashi
                                    Leslie E. Kobayashi
                                    United States District Judge




 STIPULATION FOR DISMISSAL WITH PREJUDICE AS TO ALL CLAIMS AND ALL PARTIES;
 ORDER in Linda Clarke v. Association of Apartment Owners of Waikiki Shore, Inc., et al.; CV 1-16-
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